                                               EXHIBIT 6

             In The Matter Of:
Darel Adelsberger and Annette Adelsberger vs.
      Union Pacific Railroad Company




             Darel Adelsberger
             February 12, 2020




               Kelly Hill, CCR




              Original File DAdelsberger.txt
         Min-U-Script® with Word Index
Darel Adelsberger and Annette Adelsberger vs.                                                           Darel Adelsberger
Union Pacific Railroad Company                                                                          February 12, 2020
                                                     Page 1                                                         Page 3
 1          IN THE UNITED STATES DISTRICT COURT                1   APPEARANCES OF COUNSEL:
               EASTERN DISTRICT OF ARKANSAS
 2                    WESTERN DIVISION                         2
                                                                   ON BEHALF OF PLAINTIFFS:
 3   DAREL ADELSBERGER AND          )                          3
     ANNETTE ADELSBERGER            )                                 MR. STANLEY D. RAULS
 4                  PLAINTIFFS,     )                          4      ATTORNEY AT LAW
                                    )                                 P.O. BOX 21665
 5   VS.                            )NO. 4:19-CV-3             5      LITTLE ROCK, ARKANSAS 72221
                                    )      SWW
 6   UNION PACIFIC RAILROAD COMPANY )                          6
                    DEFENDANT.      )                              ON BEHALF OF DEFENDANT:
 7                                                             7
                                                                      MR. SCOTT H. TUCKER
 8                                                             8      FRIDAY, ELDREDGE & CLARK, LLP
                                                                      400 WEST CAPITOL AVENUE, SUITE 2000
 9                                                             9      LITTLE ROCK, ARKANSAS 72201
10                                                            10
                                                                   ALSO PRESENT:    BOB DUNN, VIDEOGRAPHER
11              VIDEOTAPED ORAL DEPOSITION OF                 11
12                   DAREL ADELSBERGER                        12
13                   FEBRUARY 12, 2020                        13
14                                                            14
15                                                            15
16                                                            16
17                                                            17
18                                                            18
19                                                            19
20                      KELLY D. HILL                         20
21                CERTIFIED COURT REPORTER                    21
22                   STATE OF ARKANSAS                        22
23                      (501) 416-9329                        23
24                                                            24
25                                                            25

                                                     Page 2                                                         Page 4
 1      ANSWERS AND VIDEOTAPED DEPOSITION OF DAREL             1                   S T I P U L A T I O N S
 2   ADELSBERGER, a witness produced at the request of         2
 3   the Defendant, was taken pursuant to Notice of            3      The attorneys for all parties present
 4   Videotaped Deposition and Subpoena Duces Tecum,           4   stipulate and agree as follows:
 5   in the above-styled and numbered cause on the             5
 6   12th day of February 2020, 1:23 p.m., before              6   Objections:
 7   Kelly Hill, a Certified Court Reporter, taken at          7      Reserve all objections, except as to the form
 8   Friday, Eldredge & Clark Law Firm, 400 West               8   of the questions and the nonresponsiveness of the
 9   Capitol Avenue, Suite 2000, Little Rock, Arkansas         9   answers, until the time of trial, which
10   72201, in accordance with the Federal Rules of           10   objections are waived if not made at the taking
11   Civil Procedure.                                         11   of the deposition.
12                                                            12
13                                                            13   Signature:
14                                                            14      Waived.
15                                                            15
16                                                            16
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 1                       I N D E X
                                                              1    February 12, 2020, and you are here, correct?
 2
                                                              2               (Deposition Exhibit No. 1 was
 3   STYLE AND NUMBER . . . . . . . . . . . . . .    1
                                                              3    marked.)
 4   APPEARANCES. . . . . . . . . . . . . . . . .    3
                                                              4   A. I am.
 5   STIPULATIONS . . . . . . . . . . . . . . . .    4
                                                              5   Q. If you'll turn -- have you seen this before
 6   DEPOSITION EXHIBIT INDEX . . . . . . . . . .    5
                                                              6    by the way, this notice that's in your hand?
 7                                                            7   A. I've -- no, I don't think so.
     WITNESS:   DAREL ADELSBERGER
 8                                                            8   Q. Okay. Turn to the last page, if you would,
         Examination by Mr. Tucker. . . . . . . . 6
 9       Deposition Concluded . . . . . . . . . . 87          9    please. Do you see it's titled Exhibit A on the
10   COURT REPORTER'S CERTIFICATE . . . . . . . . 88         10    last page at the top?
11                                                           11   A. Yes.
                  DEPOSITION EXHIBIT INDEX
12                                                           12   Q. This was a request that you bring these
     No. 1   Notice of Deposition            Page    7
13                                                           13    things. I'll read it into the record. It says,
14                                                           14    copies of all financial records and other
15                                                           15    documents which substantiate, prove or otherwise
16                                                           16    support plaintiffs' claim for damages in this
17                                                           17    case. Did I read that correctly?
18                                                           18   A. You did.
19                                                           19   Q. Did you have any such documentation?
20                                                           20   A. All my copies went to Mr. Rauls.
21                                                           21   Q. And when you say copies, tell me copies of
22                                                           22    what, please?
23                                                           23   A. Financial records.
24                                                           24   Q. And what would those be, other than tax
25                                                           25    returns, if anything, because Mr. Rauls sent me

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 1             PROCEEDINGS                                    1    your tax return from 2011 all the way up to 2018?
 2            VIDEOGRAPHER: We're on the audio                2    Would there by anything other than tax returns
 3   and video record. Today's date is February the           3    when you say my financial records?
 4   12th, 2020. The approximate time is 1:23 p.m.            4   A. No.
 5   This is the videorecorded deposition of Mr. Darel        5   Q. You can set that -- go ahead.
 6   Adelsberger.                                             6   A. I didn't understand the need of that on the
 7      Would the court reporter please administer            7    case. I don't know what other documents would
 8   the oath of truth to the witness?                        8    be.
 9              DAREL ADELSBERGER,                            9   Q. Other than tax returns?
10   having been first duly cautioned and sworn to           10   A. Uh-huh.
11   testify the truth, the whole truth and nothing          11   Q. That's fine. And you don't keep the books at
12   but the truth, testified on his oath as follows:        12    AA Auto, right?
13                 EXAMINATION                               13   A. No, I don't. We have a CPA firm, which we
14   BY MR. TUCKER:                                          14    let go of and hired another one.
15   Q. Will you please state your full name, sir?           15   Q. Mr. Adelsberger, have you ever given a
16   A. Darel Lee Adelsberger.                               16    deposition before?
17   Q. Mr. Adelsberger, what name do you go by?             17   A. No.
18   A. Darel.                                               18   Q. Let me go over some ground rules with you if
19   Q. Have you ever been known by a different name?        19    you don't mind. You're doing a good job. Please
20   A. Nickname?                                            20    answer out loud rather than nodding your head up
21   Q. Yes, sir.                                            21    and down or side to side. If you do that, I'll
22   A. Booger.                                              22    have to ask you if that's a yes or a no.
23   Q. Mr. Adelsberger, let me hand you what I've           23   A. Okay.
24    marked as Exhibit No. 1 to your deposition. It's       24   Q. And please say yes or no rather than uh-huh
25    a Notice which directed you to be here today on        25    and huh-uh, and I say that all the time, but if

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 1    you say uh-huh, I'll have to stop and say is that      1   Q. Mr. Adelsberger, what is your date of birth,
 2    a yes just so we get it clear on the record?           2    please?
 3   A. I understand.                                        3   A. 12/4/1949.
 4   Q. The court reporter, Ms. Hill, is taking down         4   Q. And how long -- excuse me. How old does that
 5    everything that we say verbatim, which means we        5    make you?
 6    both can't talk at the same time. Please let me        6   A. 70.
 7    finish asking the question before you begin your       7   Q. Where were you born?
 8    answer, and I'll do my best to let you finish          8   A. St. Vincent's.
 9    your answer before asking you another question,        9   Q. In Little Rock?
10    okay?                                                 10   A. In Little Rock.
11   A. Okay.                                               11   Q. And did you grow up in Little Rock?
12   Q. Mr. Adelsberger, let me have an agreement           12   A. Grew up in Little Rock.
13    with you. If you don't hear one of my questions,      13   Q. Where did you go to high school?
14    will you please ask me to repeat it?                  14   A. I graduated from Catholic High.
15   A. Yes.                                                15   Q. What year?
16   Q. If you don't understand one of my questions,        16   A. '67.
17    will you please ask me to rephrase it?                17   Q. Do you have any other formal education such
18   A. Yes.                                                18    as college?
19   Q. Because I'll be relying upon the answers that       19   A. Two years of college at SCA.
20    you give here today in preparation at trial, and      20   Q. What does SCA stand for?
21    if you answer a question without asking me to         21   A. State College of Arkansas.
22    repeat it or rephrase it, I'm going to take it        22   Q. Where is it located?
23    that you heard the question and you understood        23   A. Conway.
24    the question; is that fair?                           24   Q. Is it now UCA?
25   A. That's fair.                                        25   A. Yes, sir.

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 1   Q. Without telling me anything that was said,           1   Q. Was it a two-year program or a four-year
 2    have you had a chance to visit with your attorney      2    program when you went?
 3    about what we're doing here today?                     3   A. It was a four-year program. I missed a
 4   A. Just briefly.                                        4    semester test, and my grade point wasn't high
 5   Q. Do you understand what we're doing here              5    enough and I was drafted.
 6    today?                                                 6   Q. What branch?
 7   A. Yes.                                                 7   A. Army.
 8   Q. Do you understand that you're under oath to          8   Q. That would have been during the Vietnam war?
 9    tell the truth and the whole truth just like if        9   A. It would have been.
10    you were in front of a judge and a jury?              10   Q. And did you go overseas?
11   A. I do.                                               11   A. Yes.
12   Q. Are you on any medications that would affect        12   Q. Where to?
13    your ability to give truthful and accurate            13   A. Germany.
14    answers here today?                                   14   Q. What years were you in Germany?
15   A. No.                                                 15   A. '69.
16   Q. Did you do anything, other than speak briefly       16   Q. Just one year?
17    with Mr. Rauls, to prepare yourself for your          17   A. Yes.
18    deposition here today?                                18   Q. And then did you come back to the states
19   A. No.                                                 19    after that?
20   Q. And when I say to prepare, I mean did you           20   A. I did.
21    review any documents or pieces of paper that have     21   Q. Did you go overseas anymore with the Army?
22    anything to do with this lawsuit?                     22   A. No.
23   A. No.                                                 23   Q. What year did you get out of the Army?
24   Q. Look at any pictures?                               24   A. '69.
25   A. No.                                                 25   Q. And did you receive an honorable discharge?

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 1   A. I did.                                              1    have another location. Do you understand
 2   Q. What did you do after you were discharged           2    rebuilder?
 3    from the Army?                                        3   Q. No, sir. But before we get there, tell me
 4   A. I started my own business.                          4    what type of business did you have at 2701 B?
 5   Q. What business would that be?                        5   A. Well, that's what I was trying to tell you.
 6   A. AA Auto.                                            6    Let's go back to the word rebuilder. That's a
 7   Q. What year did you start AA Auto?                    7    fellow that takes a demolished car one end to the
 8   A. '78. 1978.                                          8    other, and I'd cut a car in half, weld it back
 9   Q. What did you do between the time you were           9    together and make a good car out of it. Now, it
10    discharged in 1965 and when you started AA --        10    might not be to the extent of cutting a car in
11   A. Discharged in '69.                                 11    half. It might be a fender or it might be a
12   Q. I'm sorry. Thank you. If I say something           12    quarter panel, might be a door, a couple of
13    wrong, please correct me. What did you do            13    doors. Okay. But I refurbished automobiles --
14    between the time you were discharged in 1969 and     14    hence the word rebuilder -- and I accumulated --
15    the time you started AA Auto in 1978?                15    instead of buying my parts from you, I bought
16   A. I was the manager at the mechanic shop at          16    another car like it, and I used parts off my own
17    Twin City Motors for two years, and then I went      17    car. So I accumulated a large inventory of
18    to work for Best Auto as a mechanic/body man, and    18    parts. In doing so, even though I was in the
19    in 1978 I had built my own shop and went out on      19    middle of a plowed field, 80 acres in front of me
20    my own.                                              20    and 160 acres in front of me, you know, okay, I
21   Q. And where did you originally start AA Auto?        21    had a neighbor that didn't approve of that, so I
22   A. 2701 B Wooten Road, North Little Rock,             22    moved my business to the highway, which is a much
23    Arkansas.                                            23    better retail location.
24   Q. Where is 2701 B Wooten Road in North Little        24   Q. You said you had a neighbor who didn't
25    Rock?                                                25    approve of an auto parts establishment. Did the

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 1   A. It's two miles and a half from the 8125             1    neighbor file a complaint or seek to prevent you
 2    Highway 161 where AA Auto is now.                     2    from doing that?
 3   Q. When you began AA Auto -- and sometimes I'll        3   A. Yes.
 4    say Double A Auto.                                    4   Q. And did some governmental body tell you --
 5   A. That's fine. I call it that myself.                 5   A. No.
 6   Q. When you started AA Auto, did you have any          6   Q. -- you can't do that here?
 7    business partners or were you the sole owner?         7   A. No.
 8   A. Sole owner.                                         8   Q. You just decided I'm going to move from where
 9   Q. And would that have been the case the entire        9    I am?
10    time that the business was located at 2701 B         10   A. Location, location, location. Much better on
11    Wooten Road?                                         11    the main highway and adjacent to 440. Easier
12   A. No. I married my wife in '83, and I was            12    access on delivery trucks, semis, so on and so
13    still down there in '83.                             13    forth, for my product.
14   Q. Married Annette in '83?                            14   Q. Now, when you bought that property where AA
15   A. That's correct.                                    15    Auto is now, 440 had not yet been constructed,
16   Q. And did she become a co-owner at that point?       16    had it?
17   A. Yes, sir.                                          17   A. No.
18   Q. When was it that you purchased the land on         18   Q. Let me go back to a few more background
19    which AA Auto currently sits?                        19    questions. You said you graduated high school at
20   A. I'm just going -- I'm going to have to guess       20    Catholic. Do you have any college?
21    1990.                                                21   A. Sir, I told you I went to SCA.
22   Q. I've got a deed, and I think that could help       22   Q. I'm sorry. I apologize. Do you have
23    us.                                                  23    anything past SCA? Did you go to graduate school
24   A. That would help us. I wasn't permitted to          24    anywhere?
25    have a salvage yard at the 2701 B, so I had to       25   A. I went to bankruptcy school in San Francisco,

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 1    and one of our federal magistrates taught the        1   Q. And was it a used auto dealership?
 2    class a few years back. I've been to trade           2   A. Okay. Yes. To answer, yes. I dealed in
 3    schools and stuff. I don't see what this has         3    late model cars with low mileage. I sold cars
 4    bearing on anything.                                 4    with as low as 276 miles and no more than 40,000
 5   Q. Well, it's just some basic questions. Did          5    miles.
 6    you go to any trade schools in connection with       6   Q. You said you had that car lot until 2012.
 7    the work that you did at AA Auto?                    7    What year did you start it?
 8   A. Oh, that's actually -- that's a hands-on --        8   A. '92.
 9    you learn that -- you've got to do it to learn       9   Q. And then in 2012 did you sell it to someone,
10    it. Okay. In other words, there's a vocational      10    or what became of it?
11    school that teaches body work, but it's very        11   A. I depleted my inventory, carried the five
12    minor. It's like the 1st and 2nd grade. You've      12    cars that I had left on the lot down to the
13    got to go out, and you've got to like it or you     13    salvage yard, put them on the front fence row of
14    don't. If you don't like it, you're not going to    14    the salvage yard and sold them from the salvage
15    make it.                                            15    yard, and I put the car lot up for sale, and I
16   Q. You mentioned something about bankruptcy          16    sold it five years ago I'm guessing. I should
17    school in San Francisco. What is that?              17    know but I don't. Five years. I come in -- I
18   A. Oh, I had a car lot up till eight years ago,      18    sold it as a car lot, and the man opened a car
19    2012, and it was a buy-here pay-here lot.           19    lot there. North Little Rock had rezoned it, and
20   Q. Uh-huh.                                           20    we had to go to the Planning Commission, and they
21   A. Okay. And you have -- you're dealing with --      21    rezoned it again.
22    if we're going to use the alphabet ABC grade of     22      North Little Rock has a habit of rezoning if
23    credit scores, and you have a higher rate of        23    you don't pay privilege tax, and there wasn't
24    bankruptcies in the lesser income people. I         24    anybody in it, and it was just an empty lot, so
25    didn't get to sell to lawyers. Of course, that's    25    they rezoned it because it didn't pay privilege

                                                Page 18                                                    Page 20

 1    how I met my lawyer. But anyhow, dealing with        1    tax. I have since found out that you can vacate
 2    the less-than-pristine type customer. So I           2    the property. If you want it to stay a car lot,
 3    learned the ins and outs of the --                   3    you have to keep paying privilege tax for that
 4   Q. Bankruptcy code?                                   4    specific reason.
 5   A. And then -- I can't remember the judge's           5   Q. Is there a car lot there at 5809 Highway 161?
 6    name. She had me explain smart buys and leases.      6   A. There is.
 7    There were 99 lawyers in the class, one CPA and      7   Q. Do you know the name of it?
 8    one car dealer, and it was me, and she couldn't      8   A. Diamond State Motors.
 9    explain leases and smart buys. They were trying      9   Q. You said that you sold off the inventory in
10    to understand equity in an automobile, or lack      10    2012 and put it on the market, and it sold about
11    of. And I think she's since retired as a            11    five years ago, so that would be 2015?
12    magistrate here. But I told them what I knew.       12   A. Pretty close.
13   Q. Okay. You said you had a car lot until 2012.      13   Q. Do you remember what you got for it?
14    What was the name of that car lot?                  14   A. 140,000.
15   A. AA Auto.                                          15   Q. Do you recall what month in 2012 it was that
16   Q. And was it at the same location where AA Auto     16    you really had no involvement with the AA Auto
17    salvage yard is today?                              17    car lot; I mean, are we talking like late in the
18   A. It was at 5809 Highway 161.                       18    year, early in the year when you --
19   Q. And how far is that away from the AA Auto --      19   A. I filed for Social Security -- I'm sorry I
20   A. Two miles. Two and a half miles.                  20    cut you off.
21   Q. Was that a used car lot?                          21   Q. No. Go ahead.
22   A. It was a barbecue place when I bought it. I       22   A. I filed for Social Security, and when I did,
23    tore the building down and built my own building,   23    I didn't feel like it would be right for me to be
24    black topped the road -- I mean the property,       24    down there selling cars still working. So I
25    trimmed and fenced it.                              25    filed for Social Security in December or January

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 1    -- what is it -- the month after, okay, so that's     1    want me having a salvage yard in front of his
 2    when I closed the car lot.                            2    lustrous house.
 3   Q. Okay. I'm trying to understand what month           3   Q. What happened in that case?
 4    that would have been. That was in 2012, so what       4   A. I think I was -- he decided I was a menace,
 5    month was it that you closed the car lot in 2012?     5    or whatever word the --
 6   A. January or February.                                6   Q. Would it be nuisance?
 7   Q. And have you been retired since you filed for       7   A. Nuisance. And I moved, I moved my salvage
 8    Social Security in January or February 2012?          8    yard. Me being sued, that's it I think. I don't
 9   A. Yes.                                                9    have a memory of one.
10   Q. Do you have any relatives that have ever           10   Q. What about you doing the suing?
11    worked for Union Pacific?                            11   A. Well, now, I owned a car lot, and I sued for
12   A. My grandfather worked for them for 19 years,       12    deficit judgments numerous times.
13    and he died in 1960, and his son worked as a         13   Q. Any other type cases where you were involved
14    welder there until he went to war in '44, but        14    in lawsuits other than deficit judgments and the
15    after that I have no relatives. They are all         15    one with the salvage yard and your neighbor?
16    gone.                                                16   A. Well, I filed for one against a repair shop
17   Q. So you wouldn't have any relatives in Pulaski      17    that fixed my outboard motor.
18    County; is that right?                               18   Q. Any others?
19   A. That's correct.                                    19   A. All right. On the lawsuits against me, we
20   Q. Where do you live, Mr. Adelsberger?                20    sold a motor at the salvage yard. It was a
21   A. 3332 Highway 319, mailing address Austin,          21    remanufactured motor by an independent
22    Arkansas 72007.                                      22    remanufacturer who gave us a 12 month warranty
23   Q. What county is that in?                            23    which we extended to our customer. And our
24   A. Lonoke.                                            24    customer, after 11 months and 13 days, called us
25   Q. How long have you lived there?                     25    and said the motor blew up. So he sued us for --

                                                 Page 22                                                    Page 24

 1   A. Since 2003. 17 years.                               1    he wanted his money back on the motor. I proved
 2   Q. And where did you live before that?                 2    he had run the motor hot and not maintained it
 3   A. 2701 B Wooten Road. I lived in my shop.             3    and I won. Okay. I forgot. Now, I'm
 4   Q. Have you ever pled guilty to or been                4    mechanical, so to me, I didn't even consider that
 5    convicted of a felony?                                5    a problem.
 6   A. No.                                                 6   Q. Any other lawsuits, other than the ones
 7   Q. You are currently married to Annette                7    you've told me about, the deficit judgments, the
 8    Adelsberger?                                          8    salvage yard, your neighbor, the outboard motor
 9   A. That's correct.                                     9    and this remanufactured motor?
10   Q. In what year?                                      10   A. Not that I know of.
11   A. 2003 -- no, that's not correct. '83, I'm           11   Q. We talked a bit just a moment ago about what
12    sorry. I've been married 37 years. Spitting          12    year you bought the property where AA Salvage
13    these dates out, you're getting me confused.         13    yard is now. This was an exhibit to your wife's
14   Q. That's all right. If you ever give an answer       14    deposition. It says that it's a Warranty Deed.
15    that you know is wrong, please stop and correct      15    Do you see that at the top?
16    yourself. So when you were living at 2701 B          16   A. Gaunts, yeah.
17    Wooten Road, was your wife living with you there?    17   Q. Sir?
18   A. Yes.                                               18   A. Well, that's who I bought it from, Doris and
19   Q. Have you ever been involved in a lawsuit           19    Charles Gaunt.
20    before?                                              20   Q. Okay. Do you recall what you gave for the
21   A. Yes.                                               21    property?
22   Q. How many?                                          22   A. 25,000.
23   A. Several.                                           23   Q. And it looks like this Warranty Deed down at
24   Q. What did they involve?                             24    the bottom is dated the 30th day of December
25   A. Well, one was the property the man didn't          25    1982; is that correct?

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 1   A. Yes. I'm sure that's about the time -- it            1    appears to be some type of broker agreement. I
 2    was before I married my wife.                          2    don't know if that's what you would call it or
 3   Q. Approximately how many acres is there at the         3    not.
 4    property?                                              4   A. Well, it's a guy that goes -- that sells
 5   A. Five. Do you want this back?                         5    businesses, Mr. Muradian.
 6   Q. You can just put it in a pile right over             6   Q. All right. And did you approach Mr. Muradian
 7    here, 1 and 2 on top of that. And is AA Salvage        7    about selling AA Auto Salvage or did he approach
 8    yard a sole proprietorship, is it incorporated;        8    you?
 9    what kind of --                                        9   A. He approached me.
10   A. Sole proprietor.                                    10   Q. And at the top you'll see the type of
11   Q. Is it registered with the Secretary of              11    business says auto salvage and auto parts, right?
12    State's office?                                       12   A. There you go.
13   A. It is.                                              13   Q. And the firm name says AA Auto, correct?
14   Q. Under the name?                                     14   A. Correct.
15   A. AA Auto. Listed as Car Dealers AA Auto Cars         15   Q. Gives the address, and then it says purchase
16    & Parts Sales.                                        16    price $1,500,000, includes $105,000 commission.
17   Q. Say how it's listed again. AA Auto?                 17    Do you see that?
18   A. Cars & Parts Sales.                                 18   A. That's correct.
19   Q. When is the last time you checked with the          19   Q. So is that the price that you wanted for the
20    Secretary of State's office to see if it was          20    sale of AA Auto Salvage yard was a 1,500,000?
21    currently registered?                                 21   A. That's correct.
22   A. I haven't.                                          22   Q. Did he get you any buyers who were willing to
23   Q. Well, then how do you know that it is?              23    pay that amount?
24   A. Because I had Mr. Rauls register it with the        24   A. Yes.
25    State.                                                25   Q. Willing to pay $1,500,000?

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 1   Q. Do you know when you had Mr. Rauls do that?          1   A. That's correct.
 2   A. I don't remember. I don't remember. I just           2   Q. And why was it that you didn't sell the
 3    don't remember. Just in the course of doing            3    property?
 4    business. I don't remember when it was.                4   A. The man was a professional bass fisherman.
 5   Q. Well, would it have --                               5    Okay. My business come recommended by a man --
 6             MR. RAULS: May I interrupt you?               6    it's going to sound like I'm making up his
 7    I'm sorry.                                             7    name -- Mickey Sophine, from Bastrop, Louisiana.
 8             MR. TUCKER: Sure.                             8    I had had dealings with him in the past.
 9             MR. RAULS: It's registered with the           9   Q. Who is Mr. Sophine again?
10    County, not the State.                                10   A. He had recommended -- he knew this bass
11   A. My mistake.                                         11    fisherman, and this bass fisherman was looking
12             MR. RAULS: I'm sorry for                     12    for a business he could go into and retire. And
13    interrupting you.                                     13    he contacted Mr. Muradian for an interview, and
14             MR. TUCKER: No. I appreciate that.           14    on --
15   Q. Because -- and I'll hand you Exhibit No. 3.         15   Q. He being the bass fisherman?
16    At least when I went on the Secretary of State's      16   A. That's correct.
17    website November 7, 2019, I couldn't see AA           17   Q. Do you remember his name?
18    Auto --                                               18   A. No, I don't, and I know I should. They drug
19   A. Listed?                                             19    me in off of hunting parties and fishing parties
20   Q. Yes, sir. Do you see where I've got it              20    to come in and show it, because I didn't want to
21    highlighted in a box, there's AA Auto Glass Plus,     21    show it but on the weekends. I didn't want my
22    and then the next one is AAA Glass & Mirror?          22    employees knowing I was going to sell it.
23   A. No, I guess I'm not registered with them.           23       This bass fisherman had bank approval, but
24   Q. All right. Let me hand you what has been            24    they wanted a current inventory. Now, we were
25    marked as Exhibit No. 4, Mr. Adelsberger. It          25    computerized -- and I'm not a computer -- I can

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 1    barely use my telephone. And my wife and her son     1    buildings. My buildings are two-story, and
 2    wanted to hold the business. I was the one           2    there's racks and racks and shelves, and they're
 3    wanting to sell. They wouldn't give me the           3    completely full, but you can't inventory
 4    inventory. Computer should have had the              4    everything.
 5    inventory in it, because our parts, they're          5   Q. Well, is that statement you made a moment ago
 6    pre-dismantled, cars are taken apart, and the        6    correct, the majority of parts are put in stock?
 7    majority of the parts are put in stock, and the      7   A. I better get away from majority and say the
 8    rest of the parts are laid in the car and it's       8    engine and the transmission and what's attached
 9    moved outside.                                       9    to that, which would be an alternator and the
10       Well, without an inventory, the bank had         10    starter, an air-condition compressor. Suspension
11    nothing to loan money against, and the property     11    stays in the car, radios stay in the car -- or
12    and the equipment would not have stood 1,500,000.   12    did. We started removing them. Majority was a
13    I finally had another man come in and push the      13    bad choice of words. Numerous parts are in the
14    button on the computer that knew about this         14    car. The reason the motor and transmission --
15    Checkmate system, and I had 3,500,000 on the        15   Q. Numerous parts what?
16    shelf. Well, that would have been pennies on the    16   A. Numerous parts. Numerous parts are in the
17    dollar for the bank then, but the bass fisherman    17    car. I can't say 50/50. I can't -- what it is
18    had gone back out on tour, and I'm sure he lost     18    is your -- all right. Pre-dismantle, car come
19    interest. Okay. He said he had never seen a         19    in, a forklift sits it on a rack, the car is
20    salvage -- hearsay. He told me he had never seen    20    inoperable, it's wrecked, it won't run. It's sat
21    a salvage yard that had bar codes and had racks     21    on a rack, and we have air tools and hydraulic
22    and inventory laid out like we did, okay, which     22    jacks and stuff to dismantle a car in a -- 25
23    we found it easier to do it that way instead of     23    percent of the time you would if it was in the
24    you come in to buy an alternator and go out and     24    back field, because you wouldn't have air
25    pull it off a car, to have it hanging on the        25    compressors and electricity and a rack. You

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 1    rack.                                                1    would have to lay on your back on the ground, and
 2   Q. Did you have any other offers on your auto         2    of course, that wouldn't work now. But we
 3    salvage business other than the bass fisherman?      3    pre-dismantle in the front and then take to the
 4   A. No, did not.                                       4    back. And as we sell metal, we get it -- we go
 5   Q. When we look in the upper right-hand column,       5    to the car and get the metal, doors, quarter
 6    down here where it's handwritten it says             6    panels, fenders, roof, maybe the back glass,
 7    landlord, Darel Adelsberger. Do you see that?        7    maybe the sunroof. Things like that we don't
 8   A. I see seller's -- all right. Landlord,             8    inventory.
 9    that's me.                                           9       Another reason to pull the motor out is
10   Q. And it says reason for sale, retiring?            10    because most of the cars are front-wheel drive,
11   A. That's correct.                                   11    and so many of them are broke, attaching bosses
12   Q. And down at the bottom it's dated January 26,     12    where the air compressor was knocked off or
13    2010?                                               13    alternator.
14   A. And that was two years before Social              14   Q. So some of the parts stay with the vehicles,
15    Security. I believe I could have made it from       15    but you-all pull some of them out and put them in
16    '10 to '12 on 750,000. I offered to finance it      16    stock which remain indoors?
17    myself.                                             17   A. Right. So the word majority would not be --
18   Q. Now, you said the majority of parts are put       18    it's not -- I used the wrong word. I just used
19    in stock, and some of the parts stay in the cars    19    the wrong word on that application.
20    and go out on the lot?                              20   Q. So from -- remind me again. I would have to
21   A. I know you drive a car, but you just can't        21    go back through my notes. You closed down the
22    imagine how many parts there is on a car, from      22    used car lot in 2012; is that right?
23    sun visors, door moldings, kick plates to wheel     23   A. That's correct.
24    well moldings. You can't -- you can't hang all      24   Q. Up to that time, is that where you went to
25    that on -- one car would completely cover up two    25    work every day was the car lot?

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 1   A. For 10 years.                                      1    come in and the motor is out and we've got the
 2   Q. And is that where your place of work was           2    motor, we might put a motor in that car or a
 3    rather than the salvage yard?                        3    transmission. But as far as -- as far as going
 4   A. I was the buyer for the salvage yard and           4    out and campaigning and building wrecked cars,
 5    operated the car hauler, and in the mornings         5    no.
 6    before I opened the car lot at 10 o'clock, I         6   Q. And how long did you work for the salvage
 7    would go -- I might even run to Memphis and back     7    yard in this position of mechanical and repairing
 8    and bring in two cars. Yes, my principal place       8    engines, etc.?
 9    of work was at the car lot.                          9   A. From 2012 till yesterday, and I would be
10   Q. And your wife manages the salvage yard?           10    there today if I -- if I wasn't here.
11   A. And her son.                                      11   Q. 2012 until the present?
12   Q. And her son, but they manage the salvage          12   A. That's correct.
13    yard?                                               13   Q. So you still go out there 8:00 to 5:00 Monday
14   A. That's correct.                                   14    through Friday?
15   Q. Now, once you retired in 2012, did you retire     15   A. I do.
16    fully or did you work at the salvage yard           16   Q. And is your role still the same, it's
17    part-time?                                          17    mechanical, you repair --
18   A. I came to the salvage yard to lend a hand.        18   A. Well, besides delivery man, gofer, plumber,
19   Q. What year would that have been?                   19    anything else that needs done.
20   A. '12.                                              20   Q. Delivery man where you might go and pick up
21   Q. How often would you work?                         21    cars?
22   A. Every day.                                        22   A. Deliver -- no, I don't pick up cars anymore.
23   Q. From when to when?                                23    Since the $50 wreckers come in, the guys running
24   A. From 8 o'clock to 5 o'clock.                      24    around and on the truck it says $50 wrecker, we
25   Q. And that would be Monday through Friday?          25    deal with one or two exclusively, and they pick

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 1   A. That's correct.                                    1    up our cars. They know where to go get them.
 2   Q. What did you do to lend a hand?                    2       And then the salvage pool where we buy the
 3   A. Okay. Once again, I'm mechanical. I told my        3    majority of our cars, they are leaving their
 4    wife, I said I'm not good at bending over or         4    location empty, so they bring cars from Conway,
 5    hanging over a fender, but I can stand at a motor    5    Scott. I don't -- there's IAA out at 165, I
 6    stand all day long. A motor stand is where you       6    believe it is. I don't know if that's considered
 7    make repairs, remount -- if a car gets hit and it    7    Scott or not. But when we buy from them, they
 8    breaks the exhaust manifold, put another exhaust     8    will haul to us cheaper than the $50 tow, because
 9    manifold on it, different kind and cover.            9    they're going out to get a car at an accident or
10       Okay. And once again, on these cars now,         10    another place, wherever it's stored after it's
11    they are front-wheel drive, 80 percent of the       11    been nonoperational, and bringing it back for the
12    cars are hit in the front. I never figured out      12    insurance company to dispose of. I think that's
13    what happened to the other 20, you know. But        13    the name of it, Insurance Disposal. But anyhow,
14    they don't -- U.S. Government regulations for       14    so they do a lot of hauling for us. It just
15    fuel mileage, they keep more plastic and less       15    doesn't bear us -- a car hauler now is 75,000 up,
16    metal. Okay. Where we used to have cushions on      16    and if you're running one, it's not going to --
17    the front, they've got styrofoam in the bumpers.    17    that and about $6,000 a year insurance.
18    Okay. When a car gets hit, a lot of times it        18   Q. And so when you said delivery, you're talking
19    will break the motor or the transmission, and so    19    about delivery of parts?
20    I repair that, whether it's welded or put another   20   A. Parts.
21    engine block under it.                              21   Q. Okay. And you mentioned the car -- the pools
22   Q. And then those parts would be for sale,           22    y'all buy from?
23    because y'all weren't selling used cars out of      23   A. (Witness nodding head up and down.)
24    the salvage yard, were you?                         24   Q. What are the different places y'all buy cars
25   A. Very few. Very few. If we have a nice car         25    from?

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 1   A. Well, there's 147 Coparts in the United            1    like #1 Salesman '15, 2015, 2016, 2017. He's the
 2    States and 127 insurance auto auctions. They         2    salesman, inventory. It's almost family run
 3    might be in San Francisco. Stan's wife's car         3    right now. Jason, her son, my wife, me, one man
 4    come from Tulsa, Oklahoma. The car I drive come      4    part-time and one man full-time.
 5    from Anaheim, California. Buy them on video.         5   Q. What's your part-time man's name?
 6   Q. How do you get them here?                          6   A. Well, I just call him Butler, so that's good
 7   A. Believe it or not, once again, they make           7    enough for you, Mr. Butler.
 8    money by getting them to you. They will              8   Q. Well, what's his full name?
 9    interlink them with a new car carrier or a           9   A. I don't know.
10    flatbed transport coming out of there.              10   Q. What does he do for the business?
11   Q. Who buys the cars for AA Salvage?                 11   A. He goes -- he's a part-timer, so he comes in
12   A. Well, my son buys the salvage cars.               12    and he'll go out and pull parts off cars in the
13   Q. And his name is?                                  13    back, kind of as customers order, you know. Like
14   A. Jason Carroll.                                    14    I say, I can't have everything dismantled.
15   Q. You said my son Jason Carroll buys the            15   Q. And what's your full-time man's name?
16    salvaged cars. Are there any other type of cars?    16   A. Billy Swartsky. I know it's not Swartsky,
17   A. In 2012 I went on a rampage and I bought          17    but it's a Pollock name. Something like
18    every Equus I could find. Equus was the flagship    18    Swartsky.
19    of Hyundai Corporation, $70,000 Hyundai, and I      19   Q. What does he do for you?
20    found seven across the United States. I             20   A. He dismantles the cars. He's the one that
21    contracted with a couple of body men I knew and I   21    gets the motor and transmission, catalytic
22    fixed them. I fixed four out of seven. In fact,     22    converters, unbolts the seats.
23    I haven't finished the fourth one. It's on my       23   Q. But Jason as you said buys the salvage cars,
24    rack to put the interior in right now. And we       24    he's the sales person, he handles inventory?
25    haven't built any cars since then. And I was the    25   A. (Witness nodding head up and down.)

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 1    one that bought them. It wasn't nothing to do        1   Q. I take it he handles the books?
 2    with -- the company -- the company is in my name,    2   A. No. My wife handles the books.
 3    so of course, my name is on the dealer's tag         3   Q. Okay. And we spent some time with her going
 4    also, and I like those -- I like that particular     4    through the tax returns for AA Auto. Would that
 5    model car. It's -- I bought them before anybody      5    be something that you would be involved with as
 6    else knew what they were.                            6    well or just Annette?
 7   Q. Is that the last time you bought any cars for      7   A. Just Annette.
 8    the business was in 2012?                            8   Q. I'll hand you what's been marked as Exhibit
 9   A. Yes, sir. And I say that. One of them was a        9    No. 13 to your wife's deposition, which is a
10    2014, but it only had 4,000 miles, so it must       10    chart that we prepared of the tax returns that
11    have been early '14. Which foreign cars come out    11    have been filed by AA Auto from 2011 to 2018. In
12    in June. It would have come out in June of '13.     12    2011, the business paid you $12,750, but since
13    So it could have got 4,000 by July. But that was    13    that time it's not paid either you or Annette any
14    the last time.                                      14    salary?
15   Q. Since then Jason has bought all the salvaged      15   A. Okay.
16    cars?                                               16   Q. Does that sound correct?
17   A. That's correct.                                   17   A. Yes.
18   Q. What's his title or position at AA Auto?          18   Q. And then the business net profit we have down
19   A. I found a trophy in a car. You know, when         19    there per year, she confirmed that that's what's
20    people wreck a car, they don't go back to look      20    reflected on the tax returns. When we look at
21    and get their goods out of it. I found a trophy     21    say 2011 to 2012, look under the totals. In 2011
22    in there, and I made a plate for the front of it,   22    the total was $31,430 and 2012 is $95,545. Do
23    and I put his name on it with a black marker pen    23    you see that?
24    and said #1 Salesman, and of course he's the only   24   A. Can I explain that to you?
25    salesman. And I listed for four years, you know,    25   Q. Well, yeah. My question is going to be,

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 1    first of all, that's more than a threefold           1 to come, and that's got to be processed new.
 2    increase from 2011 to 2012, right? First of all,     2 Okay. Perhaps in that year or any other year, we
 3    is that right?                                       3 couldn't get to our hulls. And when I'm saying
 4   A. Okay. That's correct.                              4 hull, after I get a motor and transmission out of
 5   Q. Okay. And my next --                               5 a car, the rest of it is a hull. Do you --
 6   A. But I bought a bunch of equipment in 2011 and      6 Q. Okay.
 7    took full depreciations of it. There's your          7 A. Couldn't get to them to send them down and be
 8    number there.                                        8 smashed into metal, which turns into money, and I
 9   Q. So that's what made 2012 so much higher?           9 go buy more late model cars, and the process
10   A. Made 2011 so much lower.                          10 starts another step. Well, if I can't -- if it
11   Q. Oh, okay.                                         11 rains and there's water standing in my cars, the
12   A. Okay. I zeroed out my income.                     12 parts aren't worth anything anymore, so I try to
13   Q. What does that mean?                              13 crush them, but I can't get to them with my
14   A. With depreciations.                               14 forklift because my forklift gets stuck. You
15   Q. Okay.                                             15 can't take a piece of paper and a pencil and draw
16   A. Tractors and excavators and forklifts, and I      16 them out and put them on the freight truck going
17    took it all where I wouldn't have to pay income     17 down to Tenenbaum, so sometimes they will sit --
18    tax or --                                           18 given -- I can't -- I can't say the equation, and
19   Q. Or less income tax?                               19 I didn't record the dates, and maybe I should
20   A. Less income tax.                                  20 have. Maybe I should have had a diary. But --
21   Q. And then between 2012 and 2013, business          21 Q. Didn't record the dates of what?
22    looks like it lost $26,000, which would be --       22 A. When I couldn't get into the back and get my
23    which would be more than 25 percent decrease        23 cars out.
24    between those two years. Do you know what caused    24 Q. Okay.
25    that, or should --                                  25 A. Okay. Then when the weather gets bad,


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 1   A. I do.                                              1   Tenenbaum ups his prices, because nobody else can
 2   Q. Okay.                                              2   get out in the plowed field and get that old
 3   A. I do.                                              3   combine that's left out there in the field that
 4   Q. What?                                              4   the farmers abandoned to take it down to the
 5   A. Okay. I'm going to have to compare it to a         5   Tenenbaum place. You can't get to it.
 6    produce market. When produce is real ripe, ready     6      And then in the summertime when you can get
 7    to eat, it sells for big money, and when it goes     7   to it, they lower the prices. You know, the
 8    overly ripe it goes downhill, and finally they       8   scrap metal places, six out of seven of them in
 9    just throw it away or make jelly out of it.          9   the state are owned by Jews, and five of them by
10    Okay. All right. In the salvage business, late      10   the same Jew, and he kind of sets the prices.
11    model cars -- let's do the Equus. A wheel cost      11      And if you hadn't noticed, if you don't drive
12    $250 new, and we sell it for $150 in the current    12   a diesel truck, fuel prices have escalated, and
13    year used. Now they're about $35 a piece from       13   when you're looking at six to seven miles to a
14    '11 to 2020. It's the same thing as produce.        14   gallon, hauling this metal out of state to sell
15    They're hardly worth throwing away. You are         15   it to Memphis or in Dallas, cost prohibitive, not
16    shaking you head. Are you understanding what I'm    16   to mention the way the Department of
17    saying? It's a -- you go buy you a brand new        17   Transportation acts when someone is pulling a
18    Lexus, you get $70,000 for it. Well, you get        18   load of scrap metal down the road. They make up
19    home with it and it's worth 50. If you don't        19   rules as they go.
20    believe that, just ask your insurance company,      20      Okay. So it's danged if you do and danged if
21    he'll tell you.                                     21   don't. I can't get it out and rotate my stock.
22   Q. I understand. Keep going. I'm listening.          22   And that metal out there is my seed to buy more
23   A. Okay. So your parts deprecation are going to      23   late model cars, and so -- like an avalanche, it
24    be the same way. It's got to be a revolving         24   hits a plateau, it starts slowing down, and the
25    door. Okay. They've got to go and they've got       25   slower it gets the less dollars come in.

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 1   Q. So when you say I couldn't get out and get my        1    they make their ditches run to a centralized
 2    cars, are you saying because there was standing        2    drainage area. And he said they -- he said it
 3    water on your lot?                                     3    was all right, except for that they had a culvert
 4   A. That's correct. I have an all-terrain                4    in the wrong place.
 5    forklift, $41,000 forklift, but it -- all right.       5   Q. He being whom?
 6    This thing was a soybean field when I bought the       6   A. The director of Atoka in --
 7    property, and everybody laughed at me for giving       7   Q. Would it be Jerry Overton?
 8    the money I give for it because it wasn't nothing      8   A. That's who it is. I'm sorry. I just drew a
 9    but farmland, but I knew farmland would be porous      9    blank on the name.
10    because it's been tilled. Okay. And then the          10   Q. That's all right.
11    tilling -- water would absorb. Now, I'm talking       11   A. Drew a blank on the name. Now --
12    about rainwater. But when standing water stands       12   Q. And you hired him?
13    on it, it soaks into the clay base underneath the     13   A. I did.
14    topsoil, and it doesn't just stay wet for a week,     14   Q. When was it?
15    it stays wet for months.                              15   A. Six, seven years ago.
16   Q. Do you know that you're in a floodplain?            16   Q. Late 2015, wasn't it, or was it before that?
17   A. I've owned that property -- and it's not a          17   A. Just somewhere in that area.
18    problem being in the floodplain -- that's one         18   Q. Has he been back to your property or to Waste
19    time a year in 100 years, but I've been flooded       19    Management's since that time?
20    for about the last 20 years.                          20   A. Now, I can't answer that.
21   Q. Well, will you answer my question?                  21   Q. As far as you know?
22   A. Yes, I do.                                          22   A. I don't know. No, I don't know. Okay. But
23   Q. Okay. When did you first find out that that         23    in the original analysis of the problem, there is
24    property was in a floodplain; was it before you       24    a railroad trestle -- I call it a bridge and they
25    bought it or after you bought it?                     25    call it a trestle.

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 1   A. I figured it was in the floodplain before I          1   Q. You mean a culvert?
 2    bought it, because all of the property from            2   A. Culvert. It's a twin stage, and every time I
 3    Jacksonville to North Little Rock is low ground,       3    walk down there it's blocked up, stopped up. I
 4    and I own property on the other side of 440, and       4    took pictures of it numerous times. And the
 5    I had lived there since '78, so I knew what the        5    water is not a problem on Waste Management, it's
 6    -- the drainage, okay, got a lot of factors on         6    all out in that 135 acres of forest that's out
 7    that drainage. You've got 440 coming through,          7    there that butts up to my property. And you can
 8    you've got developers coming in and blocking the       8    raise a fish farm out there with the water that's
 9    ditches, you've got Ink Bayou that Corps of            9    out there. I can't even get -- I can't get there
10    Engineers doesn't keep cleared out and the            10    with hip boots, hip waders just like duck
11    beavers build dams. Okay. There's a lot of            11    hunters. I've got two pair hanging in my den. I
12    factors on that.                                      12    can't get there to their trestle because there's
13   Q. What about Waste Management, is that one of         13    water backed up.
14    the factors in the drainage in this area?             14   Q. And I take it you wouldn't be able to tell
15   A. Okay. I'm country boy enough to know that           15    me, even if the Union Pacific culvert were
16    water goes downhill, it does not go uphill. All       16    completely cleaned out, whether that water would
17    right. I questioned that when I hired the             17    still be there or not, could you?
18    hydrogeologist of Atoka. We walked down there         18   A. When we observed them cleaning the trestle,
19    and we analyzed and looked, and the elevation         19    culvert, bridge out, the water drains off us like
20    grades were shot and all. And Atoka says that         20    it's going into a river.
21    the Waste Management people have put a drainage       21   Q. How many times have you observed Union
22    area for their elevated areas. In other words,        22    Pacific clean the culvert out?
23    if this -- if they got this twin peak right here,     23   A. Twice.
24    they've got a drainage around it, and I assume        24   Q. When was it?
25    that they have engineers that shot grades, and        25   A. One time was just before Jerry got there.

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 1    They come in and they had a machine.                  1   A. No. I took pictures of the water. But you
 2   Q. Like a trackhoe --                                  2    could take pictures back when Jerry was there,
 3   A. Yeah, trackhoe on a flat deck. And they --          3    and I could take pictures two years later, and I
 4    and if this was the culvert, they scraped this        4    can take pictures today, and the pictures are
 5    and extended the arm and put the debris, silt,        5    going to be pictures. It doesn't show if the
 6    right up on the edge of the levee, and then they      6    water is 6 foot deep here or 1 foot, it's just
 7    got this one and put it on this levee. They           7    water.
 8    didn't clean it all the way down to the bottom of     8       Okay. And this water -- I'm not going to
 9    the 6 foot receptacle. They cleaned the top off,      9    fold this. But if we had a graph like this from
10    and the water started rushing and they stopped,      10    my property, it's a slow decline to the railroad
11    because I was sitting there watching them, and I     11    facility, and the thing on it, on a slow decline,
12    showed that to Jerry. And the trees in this 135      12    when there's 2 inches of rain, I get about 70
13    acres right here were the prettiest hardwoods in     13    feet of water -- standing water on my property.
14    the world, but when you throw water on hardwoods,    14   Q. 2 inches of rain in a 24-hour period?
15    it kills them. If you drive out there now, it's      15   A. Yes.
16    nothing but a bunch of stumps like Conway            16   Q. Do you know what the gradient is from the
17    sticking up. Well, when the wind blows it shakes     17    railroad culvert going to the west on Waste
18    the limbs, and the limbs fall to the ground and      18    Management's property?
19    rot, and then when the water compounds on it,        19   A. To answer your question, no. And I've
20    they float and they scrape the ditch, and they       20    answered that question. I told you I was raised
21    float over there and stop it back up. They don't     21    as a country boy. I am a country boy. Okay. I
22    get 50 foot down the road -- down the tracks till    22    was raised out Scott. And I know what a
23    it stops up again.                                   23    high-water road is. It's pretty
24   Q. You said you saw Union Pacific clean out the       24    self-explanatory. When the railroad went through
25    culvert twice, and you said the first time was       25    their easement, they brought a drag line in and

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 1    just before Jerry Overton got there?                  1    they cut a ditch on this side, put the dirt here.
 2   A. (Witness nodding head up and down.)                 2    Cut a ditch over here and put the dirt right
 3   Q. When was the second time?                           3    here. And they built themselves a railroad bed.
 4   A. It was a year or two later, and I was -- I          4   Q. When was that?
 5    was trying to see how much water there was. I         5   A. '41. '40, '42. 1940 to 1942. It's on the
 6    was coming in on hip boots from my -- from my         6    side of the bridge.
 7    property. I took a four-wheeler till the              7   Q. Okay. How do you know that they did that,
 8    four-wheeler wouldn't go anymore. Then I got out      8    just from looking at it today or --
 9    my hip boots and walked. I stayed on the edge of      9   A. It's real obvious. It's real obvious. Okay.
10    the trees, because when there's water in the         10    '40 to 2020 is 80 years. Okay. In 80 years
11    trees, you actually need sticks because you don't    11    birds have flown over those ditches, and they've
12    know what's under the water. You might be            12    excreted seeds that have been fertilized, buds
13    stepping on a log or -- I'm not scared of snakes,    13    off trees, and trees have grown into these
14    but I mean, I might have stepped on a snake. I       14    ditches. These ditches were originally designed
15    mean, it's no man's land out there.                  15    to drain the water off -- excessive water off,
16   Q. Do you remember when that was the second time      16    and the trestle, bridge, culvert was to equalize
17    that you saw the railroad cleaning it out?           17    it, if one was stopped up, the other one would
18   A. Maybe three years. Three years ago.                18    flow.
19   Q. Three years ago?                                   19   Q. If what was stopped up?
20   A. '17.                                               20   A. The ditch -- the side -- the side ditches.
21   Q. Have you got any kind of notes to that             21   Q. All right.
22    effect?                                              22   A. All right. A quarter -- a country boy
23   A. No. I took pictures, but pictures don't --         23    quarter -- a country boy quarter up the road, the
24   Q. You took pictures of the railroad cleaning         24    railroad give a personal crossing to Waste
25    the culvert out?                                     25    Management. Waste Management is here, railroad


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 1    goes here, and they bought property over here.           1    dirt pit over here.
 2    But to get to this property over here, they had          2   Q. Okay. And did that in some way alter the
 3    to go out and get on the access road, go down            3    drainage flow?
 4    Rick's Brushy Island Road to Highway 161, 161 up         4   A. It has no effect because the fall of the
 5    to Jacksonville and turn and come into their             5    land, elevation of the land. Now, Jerry -- Mr.
 6    property. So I'm sure they negotiated the                6    Atoka didn't go up there because there wasn't a
 7    crossing to go from here to there because it's           7    need. We were concerned with this water that's
 8    there. You can't get on it and I can't get on            8    from the trestle, culvert, bridge -- whichever we
 9    it, but Waste Management can get on it. And              9    want to call that -- it's from Rixey Road to --
10    Waste Management backed up with riprap. Do you          10    there's a swag in there. A swag being like this,
11    know what riprap is?                                    11    natural swag. It's not -- you know, we don't
12   Q. Yes, I do. They're large boulders.                    12    have any ground planners around here. Okay.
13   A. Large boulders. And dumped it in the ditches          13    They didn't -- back in the '40s they didn't --
14    and took their dump trucks across it. So the            14    they maybe planned for a little bit of
15    ditches are stopped up, the ditches beside the          15    development, but they probably didn't plan on
16    rail bed. And Waste Management figured that             16    what has come out there.
17    their drainage that they had created would drain        17   Q. You mentioned some things that have affected
18    it out to 167 -- 67/167.                                18    drainage in the area, and one of the things you
19   Q. Hold on a second before we get too much               19    said was Interstate 440?
20    farther. How do you know that Waste Management          20   A. That's correct.
21    dumped riprap in the ditches along the railroad         21   Q. And how has that affected drainage in the
22    tracks?                                                 22    area?
23   A. I've got pictures of it. There's no culvert,          23   A. Well, they -- all right. They cut -- they
24    and there's no way for water to pass through            24    dug their own pond to get the dirt.
25    there.                                                  25   Q. They being the State?

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 1   Q. You've got pictures of it that have been               1   A. State. The State. I didn't -- when I hired
 2    turned over to your lawyer and to us?                    2    Jerry Overton, it was to address the immediate
 3   A. Yeah. It's still there. They didn't move               3    problem, which was water on me. I didn't try to
 4    it.                                                      4    go out and reinvent the wheel what the Arkansas
 5   Q. What year were those pictures taken?                   5    Highway did or did not do, but the assumption of
 6   A. Probably three years ago, four.                        6    -- they should have known what they were doing.
 7   Q. And did you take them yourself?                        7   Q. The State?
 8   A. I did. Yeah, with a telephone. Now --                  8   A. The State. I should have said the State.
 9   Q. Whereabouts in relation to this culvert that           9    And I don't believe that water running off of
10    Union Pacific has going under its tracks would          10    them -- it would be a lot of speculation for
11    that riprap be; would it be -- and I know the           11    their water to bring it. But the problem is, the
12    tracks run generally a northeast direction, but         12    problem is between bridge to the rise of the
13    let's just say they run straight north and south.       13    Interstate 440, when it's raining season, there
14   A. Okay. They'd be north. And I'm saying a               14    will be water all the way to the edge of 40, not
15    quarter -- say a quarter mile north.                    15    the pavement, the mound where 440 is. That's --
16   Q. And would it be on the east side or the west          16    and it's all on that side. It's not on the other
17    side?                                                   17    side.
18   A. Be on the east side of Waste Management.              18   Q. It's all on your side?
19   Q. Right. But I'm talking of the tracks. Would           19   A. It's all on my side. And when the rain
20    it be on the east side of the tracks or the west        20    season comes, Brushy Island, the road Brushy
21    side of the tracks?                                     21    Island Street will be covered in water. And I
22   A. Well, to cross the tracks would be on both            22    know I have pictures of that, water just flowing
23    sides of the tracks.                                    23    across the street, cars -- impassable in an
24   Q. Okay.                                                 24    automobile, and in two days it's gone. That's on
25   A. They are -- they're crossing to get to their          25    the other side of the railroad. So there's

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 1    drainage out there. In other words, we can't          1   A. Now, it stays as groundwater, I can -- I can
 2    blame it on Ink Bayou and the beavers, because        2    get back there with boots on, boots, knee boots.
 3    the drainage, it drains.                              3    You know, and there's dead limbs laying and trees
 4   Q. That's one of the things you mentioned,             4    that have fell over there, but it didn't use to
 5    though, was Ink Bayou changed the drainage            5    be like that. It did not used to be like that.
 6    pattern in that area?                                 6    Those hardwood trees wouldn't have grown if it
 7   A. It does. We've got McCain Mall, we've got           7    would have been a natural problem. In other
 8    the other center, we've got the other center          8    words, there was -- there was water draining off
 9    across the street, the Hooters Center I'm going       9    that for years. I've -- when I bought that
10    to call it, that's asphalt. Where does that          10    property, when I bought it we had cars all the
11    water go? Then you start coming down the street,     11    way back to the trees. I used to go back there
12    we've got McLarty Toyota, Nissan, all the car        12    and squirrel hunt. Good squirrel hunting. Limit
13    dealers, they're asphalt. Where does their water     13    out in two hours.
14    go to?                                               14   Q. Let's go back to Exhibit No. 14 a little bit
15   Q. I don't know. Tell me.                             15    that you've got in front of you. Do you see in
16   A. Well, it's all heading towards Rixey Road,         16    2015 the net profit of the business was $9528?
17    and Rixey Road just -- then you go over here and     17   A. Okay.
18    you've got Ink Bayou. Now, the Arkansas Highway      18   Q. 2016 it went up more than threefold. It went
19    Department come in and elevated 167/67 and           19    up to $30,618. Do you see that?
20    engineered some water runoffs. But I -- every        20   A. I do.
21    time you talk to the engineer in Jacksonville and    21   Q. Do you attribute that to anything?
22    you talk to the engineer in Beebe, and you talk      22   A. Yes.
23    to anybody you want to talk to, and they'll go in    23   Q. What?
24    that Corps of Engineers is not keeping the bayou     24   A. I attribute that probably me starting
25    cleaned out.                                         25    building motors. Hyundai has a problem with

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 1   Q. Does that affect drainage in your area           1 their oil pump created in '12, and Hyundai had to
 2    when --                                            2 replace 1,600,000 their motors in Sonatas. And I
 3   A. Well, I can't -- my water doesn't get to the     3 have -- the Crain dealerships, I buy their
 4    bayou. My water sits on my side of the railroad    4 pullouts; in other words, your car or motor blows
 5    backed up at that one stationary culvert. When     5 up, I get the blowed up motor. I tear down five
 6    it's opened up, water runs off me. Now, runs off 6 or six of them, get enough good pieces, build one
 7    me, doesn't go away. I didn't tell you it goes     7 back. It was bringing 1500 to $2,000, and I was
 8    away. If -- when it backs up, I've got this much   8 building two and three a week.
 9    water, and it's up on me. And when they clean it 9 Q. In 2016?
10    out, then it gets down -- this water is gone, and 10 A. I'm building them now.
11    it gets off of me, gets off of me. Now, I don't   11 Q. Anything else you can think of that caused
12    know how much has saturated and leached into my 12 the earnings of AA Auto to go up three times from
13    property and stayed in my -- into my clay dirt.   13 2015 to 2016?
14   Q. But it's still in that area where those trees   14 A. Well, you can have -- we can have taken in a
15    are, right?                                       15 lot of crush cars that year. Might have been
16   A. That's correct.                                 16 able to get to our cars. Got us some late model
17   Q. That are dying?                                 17 inventory. That peps up your numbers.
18   A. Have died. History.                             18 Q. Is it fair to say that the auto salvage
19   Q. Okay. Have died. Even when the culvert is       19 business is somewhat cyclical like auto dealer
20    cleaned out, water stays in the area where those  20 businesses?
21    hardwoods are that have died?                     21 A. It comes and goes.
22   A. Uh-huh.                                         22 Q. Right. Like when we have a strong economy,
23   Q. Yes?                                            23 more people buy cars than if we have a bad
24   A. Yes.                                            24 economy?
25   Q. Okay.                                           25 A. Here we go. Let's take the same car. Let's


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 1    take that Equus I talked about that I drive and       1    the way from California. I mean, there's --
 2    his wife drives. Okay. In the beginning in            2    there's a lot of things that go into this. This
 3    2012, the door was worth $750, they are worth         3    isn't -- and in our business, it's not like a
 4    $200 now. Okay. If we get a shot of late model        4    gasoline. You know, here you can stop at a
 5    cars, our numbers are going to go up. And we          5    Mobile, a Shell, a BP or a Consumers or Big Red,
 6    don't buy anything but -- anything that's younger     6    but when I got the only part in town, guess what,
 7    than five years, and that's --                        7    I'm going to get you. Supply and demand. So it
 8   Q. You mean older than five years?                     8    changes. It's going to change. We -- our income
 9   A. Yeah. Anything -- if 2015 model door fits           9    is up and down like a yo-yo.
10    all the way to 2020, we'll by a '15, but that's      10   Q. And what do you attribute that to is what I'm
11    our cutoff.                                          11    getting at? Market forces, what?
12   Q. Okay.                                              12   A. Well, a great deal of ours is changed because
13   A. And that makes -- all right. In the                13    we're not as late a model -- we don't have the
14    beginning Altima doors that were bringing $500,      14    selection of late models as we did have. Okay.
15    now I deliver them across town for 75, same car.     15    We've had -- when you don't have money to buy a
16    And so you buy one or two new ones, all the          16    late model, you buy what you can buy to fill a
17    sudden instead of selling a $75 door, you're         17    need. In other words, if your daughter's car, a
18    selling $500 doors.                                  18    2012 Altima motor blew up, and you called us to
19   Q. Other than this engine work that you say you       19    get you a motor, we'll buy a 2012. Now, we might
20    were doing in 2016, do you have any other idea       20    clear the car with the motor, but then the rest
21    why the income of the business, the net profit       21    of it isn't worth anything either. I mean, it's
22    went from less then $10,000 in 2015 to over          22    not like it used to be, if it had been a 2019
23    30,000 in 2016?                                      23    Altima, see. That changes things. If your money
24   A. Well, you know, it's an accumulated effort.        24    flow -- I don't think there's any salvage yard in
25    If we can get our cars out, we get a shot of         25    the United States they wouldn't tell you that

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 1    cars, and let me alone and I can build some           1    they're -- that they can't determine how their
 2    motors, you know, I'll tie a couple hundred           2    numbers are going to be.
 3    dollars in a motor, and it'll be worth $2,000.        3   Q. You mean they can tell you?
 4   Q. Do you know why in 2016 the net profit of the       4   A. Yeah. Nobody is constant. It's an
 5    business went from over $30,000 down to just over     5    up-and-down progression.
 6    $23,000?                                              6   Q. I'm just wondering if you knew what caused
 7   A. To answer your question, to give you a              7    that up and down?
 8    positive -- no, I can't give you a positive. It       8   A. There's a lot of things that cause it.
 9    can be a course of events. I can have motors          9   Q. Well, can you name some for me?
10    built up and not sold. We never know what the        10   A. Yeah. If I can't get -- if I can't get my
11    next item is going to be. We don't know if it's      11    metal out of the back, I can't put it in more
12    going to come in -- one of the cars I bought in      12    expensive cars.
13    '12, I sold a motor out of it for $5,000, and now    13   Q. I understand. But what are other things that
14    it's $1,000 motor. We bought a Dodge TA with 57      14    cause the up-and-down progression?
15    hemi in it, sold the motor last week for $5500.      15   A. Okay. I buy a car that's got a broke motor
16    I mean, it's -- and it sat there six months.         16    and I don't have someone to replace the motor,
17      You know, we're not an ABC inventory company.      17    and I sell it to a dealership and they say, this
18    We buy -- we buy and try to look at the market,      18    motor is broke. I delivered five Civic motors to
19    who has got what. Our computer tells us what's       19    McLarty Toyota one time, and every one of them
20    available in this area. With shipping like it        20    was bad. I had bought them out of -- across the
21    is -- we used to send a whole half a car to          21    country different dealers. They didn't know they
22    California for $100, and now it'll cost us $700.     22    were bad or they wouldn't have sent them to me.
23    Well, if you need a motor and they got it in         23    I mean, things --
24    California, I can sell that motor to you $100        24   Q. Yeah. What are some other things -- that's
25    cheaper and make $500 more than shipping it all      25    what I'm getting at. What are other things that

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 1    cause the progression to yo-yo up and down from      1    people just drive off, do you?
 2    year to year?                                        2   A. Yeah.
 3   A. Believe it or not, the stock market affects        3   Q. How many?
 4    it. Everything affects it.                           4   A. I don't know. Maybe sometimes 20 in a year
 5   Q. How does the stock market affect your              5    and sometimes 10, sometimes five. I mean, when
 6    business?                                            6    they start this nothing down, and people that
 7   A. Your -- when the stock market is up, people        7    have no credit at all can go down and buy a car
 8    are buying more new cars than they are used cars.    8    at Fletcher, he has nine ways to finance a car.
 9    When it's down they buy -- they patch up what        9    They can sleep on the freeway and not have a job
10    they got.                                           10    and still buy a new car. All right. Well, they
11   Q. And that increases your business?                 11    won't be out at my place, because first of all,
12   A. Well, depends. If they got an old car, I          12    they are going to have to pay cash for it.
13    don't get -- it's not $150 alternator, it's a $25   13   Q. Right. That hurts your business?
14    alternator. It's all relevant.                      14   A. Well, it slows it down.
15   Q. What's better for your business, a stock          15   Q. Okay. Slows it down. We're just using two
16    market that's high or one that's low or one         16    different words.
17    that's in between?                                  17   A. Yeah. Okay. Well, you got tax time. See,
18   A. One that's low.                                   18    tax returns are not coming out till today I
19   Q. Okay.                                             19    think. So between January and middle of
20   A. Now, and I say that. On the newer stuff --        20    February, it's been slow time.
21    on the newer stuff, the availability. Like this     21   Q. But we've got tax time every year.
22    57 hemi motor, the -- and I'm just using that as    22   A. At different times.
23    an example. There was a back order on the lifter    23   Q. But it's every year, so every year is going
24    assemblies, back order at the dealership. They      24    to have a tax time, so tax time couldn't account
25    didn't even have them. Now, I'm sure they've        25    for the difference in one year your business

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 1    alleviated that problem by now, but it made my       1    being good and the next year being off because
 2    motor escalate, because there was no available       2    we've got tax time in both years?
 3    parts to fix the ones that were already out.         3   A. Let me show you one other thing. Do you
 4   Q. What else can affect a bottom line in an auto      4   remember Cash for Clunkers, your President Obama
 5    salvage yard like AA?                                5    give you a $3500 voucher for your old clunker?
 6   A. Well, we have a few car sales that come in.        6   Q. Okay. Yeah.
 7    Watch this; I buy a car from you for $500, and       7   A. You remember that, don't you?
 8    I've got the motor and I put the motor in when       8   Q. Yeah. What year was that?
 9    we're not busy. You know, even my yard people        9   A. I don't know. Everybody went and bought
10    can change a motor. They might not be able to       10    cars, though, I'll tell you that. They traded
11    turn out all the lights. And then we sell that      11    anything that was -- anything that could drag
12    car for $3500. Well, you see how that affects       12    into the dealership. But the joke was on them,
13    it? There's --                                      13    because that $3500 voucher that they got to buy a
14   Q. Is that just hit and miss, though?                14    car with, he taxed them on it come income tax
15   A. Yeah, it's hit and miss. But it -- when you       15    time.
16    have the reputation that you'll buy cars, it's      16   Q. Okay. So did -- what did Cash for Clunkers
17    pretty constant. We get that.                       17    do for --
18   Q. Well, y'all don't buy cars and fix them up        18   A. It took --
19    and then sell them as used cars anymore, do you?    19   Q. -- AA Auto Salvage?
20   A. I deal with mechanic shops, and every             20   A. It hurt our business. It hurt our business.
21    mechanic shop in town will buy a used car if it     21   Q. What year was that?
22    needs a motor or transmission, because when their   22   A. I remember it because it took a lot of the --
23    slow times come, they'll stab that in and put the   23    let's go back to the alphabet. You know, you've
24    car out front for sale and make money on it.        24    got your A, which are new cars, B is your
25   Q. But AA Auto Salvage doesn't sell cars that        25    secondary owners, C is third owners. It took

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 1 that fruit off the vine and made them move up to         1    investigate and look at it, but it's --
 2 another one, move up to a classier car.                  2   Q. Did you put together this photo log that was
 3 Q. What else could affect AA Auto Salvage in             3    made Exhibit No. 15 to your wife's deposition or
 4 businesses like yours from one year to the next?         4    did Jason do that?
 5 A. Employees.                                            5   A. I took a lot of these pictures.
 6 Q. How so?                                               6   Q. I don't doubt that you did. I'm just saying
 7 A. You can't hardly get anybody to work anymore.         7    who put together the photo log, that piece of
 8 Q. Do you have some people --                            8    paper in your hand that's Exhibit No. 15?
 9 A. Qualifications.                                       9   A. Well, since I didn't number them, I guess it
10 Q. If you have some people quit, that slows down        10    would have to be Stan, Mr. Rauls.
11 the business, hurts the business?                       11   Q. Okay.
12 A. I've seen times we run an ad and never get           12   A. As time went on, I got better about going
13 anybody. That's why I'm around there, is when it        13    down to Walgreens and having them developed, and
14 comes in like that, I get to do some of the dirty       14    then while it was fresh on my mind and flip them
15 work. I mean, I get dirty as a pig, but that's          15    over and giving some sort of a description of
16 part of it. We wanted something to keep -- to           16    what it was, or is.
17 give the son for him to go on with, and the             17   Q. Uh-huh.
18 momentum is slipped away from us. I guess -- not        18   A. Whatever is the right word there.
19 slipped away. It's --                                   19   Q. We've been going for quite a while now. Do
20 Q. Any other things come to your mind about what        20    you want to take five minutes?
21 might be something for a good year, and then this       21              MR. TUCKER: Okay. Let's do that.
22 happened and now we're not going to have a good         22    Let's take five, seven, and we'll come back and
23 year?                                                   23    try to finish up.
24 A. Well, not right off. I've been doing this            24              VIDEOGRAPHER: We're going off the
25 quite a while. I mean, I pretty well know the --        25    record. It's 3:03 p.m.

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 1    I can shift gears in the middle of the stream.        1              (A break was taken.)
 2    You know, that's why I went to building motors,       2              (Back on the record.)
 3    because we couldn't get enough of that motor to       3             VIDEOGRAPHER: We're back on the
 4    supply our customers.                                 4    record. It's 3:09 p.m.
 5   Q. Do you know what caused the drop between 2017       5   Q. (By Mr. Tucker) Mr. Adelsberger, we just
 6    and 2018 going from $23,740 to $16,913?               6    took a break, and I'm going to hand you what's
 7   A. Well, I guess since that's all they talk            7    been marked as Exhibit No. 17. It's a
 8    about. They're talking about Trump and his            8    photograph, and it's got a number in the bottom
 9    lying. You know, I don't know. Trump.                 9    right-hand corner that says 4249. If you will
10   Q. Do you think that's what caused the                10    turn to Page 3 of that photo index there, you'll
11    difference?                                          11    see a 4249 about two-thirds away down the page.
12   A. I don't know. That's all you get on TV             12    Do you see that?
13    anymore, so just blame it on him.                    13   A. I do.
14   Q. Okay.                                              14   Q. And that would be in the year -- according to
15   A. I hope everybody is saving their money to          15    the photo log, 2015, right?
16    give to Bernie Sanders where we'll all get $1,000    16   A. Okay.
17    a month income and free college and free health      17   Q. Is that correct?
18    care. You wouldn't be involved in any of that,       18   A. Yes.
19    would you?                                           19   Q. Do you know if you took this picture that's
20   Q. Well, unfortunately, I can't answer your           20    Exhibit No. 17?
21    questions, but we can talk after this is over.       21   A. Yes.
22   A. The -- no, I don't --                              22   Q. You do, and you took it?
23   Q. But in answer to my questions, you don't know      23   A. I did.
24    what caused that dip, correct?                       24   Q. Okay. And that shows the culvert there in
25   A. I could -- that's correct. I might                 25    question, correct?

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 1   A. It shows the culvert on the Waste Management       1   A. No, no, I don't. That's theirs -- that's
 2    side.                                                2    theirs. No, I don't.
 3   Q. So your property would be on the other side        3   Q. I take it that Mr. Overton with Atoka did not
 4    of the tracks that we see up there towards the       4    share with you what the grade was on the Waste
 5    top of the page; is that right?                      5    Management channel, did he?
 6   A. That's correct. Yeah, be opposite -- be the        6   A. I feel like he measured it because the
 7    opposite side of this culvert.                       7    surveyor laughed about just driving in their
 8   Q. I'm going to hand you what was marked as           8    property. I've been a little hesitant about
 9    Exhibit No. 19, and is that looking from the         9    going on Waste Management because it's not my
10    culvert down that Waste Management channel?         10    place. And he said, oh, it ain't no problem,
11   A. It is. Looking due -- this would be north --      11    I'll go in there. They borrowed my hip boots to
12    northwest.                                          12    wade around down there, but they --
13   Q. And do you remember taking that picture last      13   Q. Who was the surveyor; do you know?
14    year? When was that?                                14   A. No, sir. Somebody Jerry hired, Mr. Overton.
15   A. Well, I took one that looks like this             15   Q. I'll hand you what's been marked as Exhibit
16    recently.                                           16    No. 18. That shows the culvert in question,
17   Q. Okay. Is that -- I see a telephone pole in        17    correct?
18    it, and then looks to be like there are four        18   A. That's correct. This is --
19    orange poles on the right-hand side, maybe metal,   19   Q. And on Exhibit 18, the number down there at
20    I can't tell?                                       20    the bottom is?
21   A. Yes. Yes.                                         21   A. 1.
22   Q. And you took a picture that looked like this      22   Q. 1. And then if you look at your photo index
23    recently? Would that be last year?                  23    on Page 3 in the year 2019, do you see that
24   A. I took a picture -- the one I took recently       24    picture there that says No. 1, it says culvert
25    has got green moss on it, but same setting.         25    area?

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 1 Q. Do you see -- are we looking at a channel            1   A. Yes, sir.
 2 where the water comes out of the railroad culvert       2   Q. And did you take the picture that you're
 3 and goes toward the Waste Management property?          3    holding there in Exhibit No. 18?
 4 A. That's correct.                                      4   A. Yes.
 5 Q. And then what do you see in the middle of            5   Q. And was it in fact taken in 2019?
 6 that channel down there by the telephone pole?          6   A. I don't know, but probably. It could have
 7 Looks like there's a bunch of light-brown               7    been taken -- it's obviously during the green
 8 vegetation or something?                                8    season. These pictures were taken at the same
 9 A. Cattails.                                            9    time. You can judge that by the foliage and the
10 Q. And are they choking off the flow of this           10    layout, depth of the water against that.
11 channel?                                               11   Q. Do you have a rain gauge out there at --
12 A. This channel years ago was smaller. Then            12   A. No.
13 they cleared it out. They have lots of                 13   Q. Have you ever had one?
14 equipment.                                             14   A. I've had them. I forgot about them and let
15 Q. They being Waste Management?                        15    them freeze and bust.
16 A. Waste Management has lots of equipment. They        16   Q. Would a 2 inch rain in 24 hours cause
17 cleared it out, and then it grows back, they'll        17    flooding on the AA Auto Salvage property?
18 clear it out again. And it's pretty well               18   A. It causes water, but it recede -- if the
19 unobstructed at this time. These cattails, water       19    water is not up -- in this area here where you
20 would flow through them. There wasn't any large        20    see these dead trees, if the water is not up in
21 debris. There never has been any large debris in       21    there, it will run off, it goes off me.
22 this channel. Now, limbs, tree trunk -- trunks,        22   Q. Are those dead trees on your side of the
23 they'll be in there.                                   23    tracks or the opposite side of the tracks?
24 Q. Do you know what the grade is on that               24   A. They're on my side.
25 channel?                                               25   Q. Okay.

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 1 A. And this -- this green that you see here.            1   A. Oh, okay. That's a good word. Well, you
 2 Q. Which exhibit are you looking at, sir?               2    knew what riprap was so -- riprap.
 3 A. I'm looking at 18.                                   3   Q. Sure. If you were to tell me from 2016, 2017
 4 Q. Okay.                                                4    and 2018, if you believe that you lost money
 5 A. This green that you see here is scrub stuff.         5    because of the flooding on AA Auto property that
 6 It's not a weeping willow, it's just scrub.             6    was caused by the culvert being clogged up, how
 7 It's -- I apologize. I use the word shit trees.         7    would you go about calculating how much the
 8 They're not any good for anything. They're soft         8    damages would be?
 9 and they don't grow real big. If they do they           9   A. Well, I don't handle the books.
10 break. Soft wood. Soft woods.                          10   Q. Would that be more Ms. --
11 Q. Would you inspect your property of AA Auto          11   A. That would be Annette's deal. I wouldn't
12 Salvage each time flooding occurred?                   12    have any idea if they have 10,000 accounts
13 A. No.                                                 13    receivable or 100,000. Okay. Now, I know I have
14 Q. The times you would inspect it, did you make        14    one of the most desirable salvage yards locations
15 a list or any other record of inspection?              15    that I know of, and I've been in this business
16 A. No. Just we wore ourselves out talking to           16    and I'm 70. And I know the decrease in my
17 engineers and Waste Management.                        17    property and my lack of income. It's just down
18 Q. What did Waste Management say?                      18    to about the point that it's just not worth
19 A. When Waste Management was addressed -- and I        19    working anymore. Okay. Nothing to leave my son.
20 didn't write it down. I wrote -- scribbled names       20   Q. But if I were going to ask for a number each
21 down and my wife scribbled names down. They took       21    year, I'd need to get that from Annette?
22 an interest in that -- in this.                        22   A. Yeah, you would. You started asking me why
23 Q. Okay. Now, when you say this, let's say             23    and how come. There's so many factors -- I'm
24 which exhibit number.                                  24    neither a public accountant or a lawyer, so I --
25 A. Picture 19.                                         25    I'm just a working man.

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 1   Q. Which is the Waste Management channel?             1   Q. I understand. You wouldn't be able to
 2   A. Channel. They took an interest in the              2    provide me that information?
 3    channel and cleaned it out.                          3   A. No.
 4   Q. When was that?                                     4   Q. Okay. Do you know what the average gross
 5   A. Well, sometime within this nine-year period.       5    profit margin is at AA Auto Salvage?
 6   Q. From?                                              6   A. No. And then to answer that, it's different
 7   A. '11 on -- '11, '12 on.                             7    on every vehicle. The more expensive the vehicle
 8   Q. But can you pinpoint it anywhere closer than       8    the higher the profit. Most of the time it's
 9    the last nine years?                                 9    more percentage-wise. Okay. At least that's the
10   A. No, I really couldn't. I walked down              10    way I --
11    there -- from the Brushy Island Road, it's a        11   Q. Sure. And I'm asking the average gross
12    pretty exhausting walk. The railroad -- you         12    profit margin changes from year to year to year?
13    can't walk on the railroad ties because they're     13   A. That's correct.
14    out of step -- or I'm out of step. And then         14   Q. Okay.
15    they've got such large rock down the side of it.    15   A. The -- yeah, I'm just going to agree with
16   Q. The ballast?                                      16    you. If we tried to calculate that like we were
17   A. No. The bed.                                      17    at a WalMart store and we marked everything up
18   Q. The roadbed?                                      18    30 percent, that would be one thing. Each item
19   A. The roadbed has such rock on it, and it's --      19    that we have renders a different percentage.
20    if you put rock down in your driveway, when you     20   Q. Okay.
21    run over it it flattens it. They can't flatten      21   A. And then you take the motors I fix, 2,000
22    that because they run on rails.                     22    percent profit or something, how do you work
23   Q. I can tell you from a railroad perspective,       23    that? You know, work that figure into that
24    crushed rock that they put on the roadbed is        24    equation, see, and maybe something we handle
25    called ballast.                                     25    would make --

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 1   Q. Could do you that? Could do you those              1    else?
 2    equations?                                           2   A. No. I went down and took pictures of cars
 3   A. Well, if that's all I had to do, I'm sure I        3    sitting on wheels and it being to the bottom of
 4    could. I'm fairly good with numbers. See --          4    the steering wheel.
 5   Q. But I'm not saying just the motors that            5   Q. Did you ever talk with anybody at Union
 6    you're fixing.                                       6    Pacific about this issue with the culvert? Is
 7   A. I couldn't sit and do -- you know, I'm not         7    that a yes?
 8    going to make this my lively -- my -- all I do in    8   A. Yes, it is. Yes.
 9    my life is figure up percentages, because every      9   Q. Who did you talk to?
10    one of them is different. You'd have to be --       10   A. I don't remember his name. I talked to two
11    I'd have to be on two sides of the table. I'm       11    different people, and I talked to the man that
12    over in a building with no phones, lights and a     12    rides the rails, called a rail bed man. At
13    heater and an air compressor, and I'm doing my      13    first, the train engineers and the rail bed man
14    thing, and I don't know what they're doing over     14    would call the police, and they would meet me at
15    there.                                              15    the road when I'd come out from being on their
16   Q. Okay. That's fair. Would there be a               16    property, but it got so common, they'd just wave
17    particular month or months that the flooding was    17    at me and drive on now.
18    worse on the property than other months?            18   Q. But you don't remember any of the names of
19   A. Well, I'm sure it would be that way, but I        19    people you talked to?
20    don't know -- I don't have a --                     20   A. I can barely -- I can remember your name,
21   Q. Couldn't tell me which months would be worse      21    Scott, but that's as far as I can go with that.
22    than others?                                        22   Q. Well, I'm asking about any of the railroad
23   A. No. Or which weeks would be worse than            23    people?
24    others, but once it starts we're stifled.           24   A. No.
25   Q. Is there standing water on the property right     25   Q. Do you remember anything they said to you?

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 1    now?                                                 1   A. Well, mainly it was me talking to them, so,
 2   A. Yes.                                               2    no, they didn't say anything.
 3   Q. How many days in a row has it rained here in       3   Q. Do you have a beaver problem out there in
 4    Little Rock, North Little Rock area?                 4    this area where there's standing water?
 5   A. I don't know. I took some pictures recently,       5   A. I never saw any beaver -- any beaver cuttings
 6    and I had standing water, but the grass, the         6    around the trees till the water went down one of
 7    grass -- the grass growing, you couldn't see the     7    the times they cleaned it out, and then there was
 8    water except for where there wasn't grass, in        8    a few in the ditches along the rail bed, but not
 9    other words, in the roadbeds -- excuse me -- in      9    -- not many.
10    the roadbeds. And that's created another problem    10   Q. Did you go out with Dr. Jerry Overton when he
11    with us on the water, because it dilutes poison     11    came --
12    when we spray -- spray Roundup to kill the grass    12   A. I did.
13    off. All right. Roundup at 10 percent will kill     13   Q. -- and did the site inspection? And I know
14    a tree, 10 percent mix. Okay. If you buy            14    he took a picture of a tree that's got a -- looks
15    Roundup at WalMart it's 2 percent mix. Farmers      15    like --
16    fly over their fields and spray 1/2 percent mix     16   A. Okay.
17    and it's called fertilizer. So when the water       17   Q. -- beaver cutting all the way around it?
18    gets on my poison and dilutes it down to            18   A. (Witness nodding head up and down.)
19    fertilizer, everything gross real good back         19   Q. Did you see that when he was there?
20    there. It'll grow shoulder high.                    20   A. I did. And once again, I told you that they
21   Q. Have you ever taken a measurement about how       21    had cleaned the top -- this culvert is 6 foot,
22    deep the water was on your property at a specific   22    and they cleaned --
23    location?                                           23   Q. Who is they? Are you talking about the
24   A. Have I ever?                                      24    railroad?
25   Q. Yes. With a yardstick or a pole or anything       25   A. Railroad. Cleaned the top, and the water

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 1    started rushing, and that's what allowed it to          1    dirty jobs.
 2    drop, and we could see that -- and I told you it        2   Q. You don't know of any appraisals that have
 3    was before Jerry got there, and then Jerry took         3    been done on the property, do you?
 4    the picture of it, so that's my time elements in        4   A. No, not to my knowledge.
 5    it.                                                     5   Q. Mr. Adelsberger, have you been given a full
 6   Q. Okay. I asked your wife this question, but            6    and a fair opportunity to answer my questions
 7    let me ask you too. I think I know the answer.          7    today?
 8    These HavCom inspection reports, they don't have        8   A. I have.
 9    anything relevant to this lawsuit, do they? They        9   Q. Is there anything you would like to say
10    are just some documents that were produced to us       10    before I stop asking you questions?
11    about quarterly inspections performed for the          11   A. We've covered so much, I don't know what it
12    EPA. But do you know if they've got anything to        12    would be.
13    do with this lawsuit?                                  13   Q. All right. Anything you think you need to
14   A. Not to my knowledge. These ADEQ are                  14    modify, other than when you told me that the word
15    quarterly inspections to keep my salvage yard in       15    majority wasn't a good word, anything else?
16    line for OSHA, OSHA and -- and other than the          16   A. I just used the wrong --
17    fact that he has been there and seen the water,        17   Q. Understood. Anything else you think you
18    okay, because he goes all over the -- and there's      18    might need to modify? Sir?
19    times he can't get there, okay, that's what --         19   A. No.
20    that's what these reports are about.                   20            MR. TUCKER: I pass the witness.
21   Q. Okay.                                                21            MR. RAULS: No questions.
22   A. These are independent, and they are just to          22            VIDEOGRAPHER: This concludes the
23    keep us straight for the EPA regulations that          23    deposition. We're off the record at 3:33 p.m.
24    have come down on salvage yards.                       24              (Deposition proceedings
25   Q. About what might be in the water, what might         25              concluded at 3:33 p.m.)

                                                   Page 86                                                       Page 88
                                                              1                       CERTIFICATE
 1    be in the ground, things of that nature?
                                                              2   STATE OF ARKANSAS   )
 2   A. Yes. That's what these are about.                                             )   ss:
                                                              3   COUNTY OF PULASKI   )
 3   Q. And I think you told me this earlier, and I
                                                              4       I, KELLY HILL, Certified Court Reporter, a
 4    apologize if you did, but you don't get involved            notary public in and for the aforesaid county and
                                                              5   state, do hereby certify that the witness, DAREL
 5    in handling the books for AA Auto Salvage?                  ADELSBERGER, was duly sworn by me prior to the
 6   A. No, sir.                                              6   taking of testimony as to the truth of the
                                                                  matters attested to and contained therein; that
 7   Q. And you don't look over profit and loss               7   the testimony of said witness was taken by me
                                                                  stenographically, and was thereafter reduced to
 8    statements or anything like that?                       8   typewritten form by me or under my direction and
                                                                  supervision; that the foregoing transcript is a
 9   A. I've never written a check out of the                 9   true and accurate record of the testimony given
                                                                  to the best of my understanding and ability.
10    company. Wouldn't know if the bank balance is 10       10       I FURTHER CERTIFY that I am neither counsel
                                                                  for, related to, nor employed by any of the
11    or $20.                                                11   parties to the action in which this proceeding
                                                                  was taken; and, further, that I am not a relative
12   Q. Okay. Have you had to do any work, like              12   or employee of any attorney or counsel employed
                                                                  by the parties hereto, nor financially
13    rebuilding anything because of water standing on       13   interested, or otherwise, in the outcome of this
                                                                  action; and that I have no contract with the
14    the AA Salvage yard? I mean, did it ever get           14   parties, attorneys, or persons with an interest
                                                                  in the action that affects or has a substantial
15    into any office buildings or anything like that?       15   tendency to affect impartiality, that requires me
                                                                  to relinquish control of an original deposition
16   A. No. No. Our salvage yard is set off in A,            16   transcript or copies of the transcript before it
                                                                  is certified and delivered to the custodial
17    B, C, D sections.                                      17   attorney, or that requires me to provide any
                                                                  service not made available to all parties to the
18   Q. Okay.                                                18   action.
19   A. And graduated 1, 2, 3, 4, 5, and the water           19
20    took away 3, 4, 5 sections. I have sold you a          20
21    part, and when the man found the part and brought      21                       Kelly D. Hill
                                                                                      Certified Court Reporter
22    it up there, it had been under water, and if it        22                       State of Arkansas
                                                                                      Certification #515
23    was repairable I took it apart and cleaned the         23
24    rust off of it and still sold it. Since they           24
25    don't pay me anything, they let me do all the          25


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